Case: 1:22-cv-01291 Document #: 1-6 Filed: 03/10/22 Page 1 of 3 PageID #:47




                     Exhibit F
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earing Date: No hearing      1:22-cv-01291
                        scheduled                                                                                                                 Document #: 1-6 Filed: 03/10/22 Page 2 of 3 PageID #:48
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